                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS


  IN RE KRAFT HEINZ SECURITIES                           Case No. 1:19-cv-01339
  LITIGATION
                                                         Honorable Robert M. Dow, Jr.


      PLAINTIFFS’ UNCONTESTED MOTION TO SET BRIEFING SCHEDULE
          REGARDING PLAINTIFFS’ MOTION FOR LIMITED RELIEF
                    FROM THE PSLRA DISCOVERY STAY

       Lead Plaintiffs Sjunde AP-Fonden (“AP7”) and Union Asset Management Holding AG

(“Union”), together with additional named Plaintiff Booker Enterprises Pty Ltd. (collectively,

“Plaintiffs”), through their undersigned counsel, move this Court for an Order setting the briefing

schedule regarding Plaintiffs’ Motion for Limited Relief from the Private Securities Litigation

Reform Act (“PSLRA”) Discovery Stay reflected in the Stipulation and [Proposed] Order

submitted herewith.

       On January 6, 2020, Plaintiffs filed the Consolidated Class Action Complaint (ECF No.

179). On March 6, 2020, Defendants in the above-captioned action filed their Motions to Dismiss

the Consolidated Class Complaint (ECF Nos. 215, 217).

       A related consolidated shareholder derivative action—captioned In re The Kraft Heinz

Co. Derivative Litigation, C.A. 2019-0587-AGB (Del. Ch.) (the “Delaware Derivative

Action”)—is currently pending in the Court of Chancery of the State of Delaware. On

February 7, 2020, one of the shareholder plaintiffs in that case filed a derivative complaint that

included numerous allegations describing, or otherwise based on, documents Defendant The

Kraft Heinz Company (“Kraft Heinz”) produced to that plaintiff in response to its shareholder

demand for inspection pursuant to 8 Del. C. § 220. Those allegations were redacted in the

publicly filed version of the derivative complaint pursuant to an agreement between the parties.
        On May 15, 2020, Defendant Kraft Heinz filed a motion in the Delaware Court of

Chancery for continued confidential treatment of the derivative complaint. Along with its

motion, Kraft Heinz filed a proposed amended public version of the complaint that unredacted a

number of the derivative complaint’s previously sealed allegations.

        In response to the unsealing of the derivative complaint’s allegations, on June 15, 2020

Plaintiffs filed an Uncontested and Agreed-to Motion for Leave to Amend the Consolidated Class

Action Complaint and to Modify Subsequent Briefing Deadlines (ECF Nos. 261, 261-1). The

[Proposed] Order attached thereto calls for Plaintiffs to file the First Amended Consolidated

Class Action Complaint 45 days from the entry of the [Proposed] Order.

        On June 19, 2020, Plaintiffs intend to file a Motion for Limited Relief from the PSLRA

Discovery Stay (the “Motion”), seeking to obtain copies of documents and other information

already gathered, reviewed, and produced by Kraft Heinz in connection with the recently-filed

consolidated derivative actions pending before this Court, In re Kraft Heinz Shareholder

Derivative Litigation, No. 20-cv-02259 (“Consolidated Derivative Action”), and in the Delaware

Derivative Action (collectively, the “Derivative Cases”).

        The parties have met and conferred as to the proposed briefing schedule for the Motion

and agreed upon the schedule set forth in the attached Stipulation and [Proposed] Order Setting

Briefing Schedule Regarding Plaintiffs’ Motion for Limited Relief from the PSLRA Discovery

Stay.

        Plaintiffs respectfully request the Court grant their motion to set the briefing schedule and

to order the attached Stipulation and [Proposed] Order.




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Dated: June 17, 2020   Respectfully submitted,

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